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Case: 1:21-mj-00655
Assigned To : Faruqui, Zia M.
Assign. Date : 11/12/2021
Description: Complaint w/ Arrest Warrant

STATEMENT OF FACTS

I. Your affiant, Richard Larity. is a Special Agent with the United States Capito!
Police. | am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent. 1 am currently assigned to the Criminal Investigations Section
and authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violation of Federal criminal laws.

2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification are allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to
members of the public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street. SE, in Washington. D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capito! to certify the vote count of
the Electoral College of the 2020 Presidential Election. which had taken place on November 3.
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter. by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding. first in the joint session, and then in the
Senate chamber.

4. As the proceedings continued in both the House and the Senate. and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police. and the crowd
advanced to the exterior facade of the building. The crowd was not lawtully authorized to enter
or remain in the building and, prior to entering the building. no members of the crowd submitted
to security screenings or weapons checks by U.S. Capito! Police Officers or other authorized
security officials.

6. At such time, the certification proceedings still underway and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however. shortly
after 2:00 p.m.. individuals in the crowd forced entry tnto the U.S. Capitol. including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

7. Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate. Vice President
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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly. all proceedings
of the United States Congress, including the joint session, were effectively suspended until shortly
after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry
to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol. and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

8. During national news coverage of the aforementioned events. video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

9. As part of the investigation into the attack on the United States Capitol. the FBI and
U.S. Capitol Police located video and still images of multiple individuals that were associated with
attacks on federal officers. These individuals in these images were designated as Assault on
Federal Officer, or AFO, cases. Each individual AFO subject was identified by a specific number
and at least one image.

10. On January 7, 2021, the Criminal Investigations Section of the U.S. Capitol Police
was notified by a U.S. Capitol Police Sergeant (C W-1). that while supervising and being a member
of the U.S. Capitol Police Civil Disturbance Unit (CDU) on January 6. 202]. CW-1 had been
assaulted by an unidentified protester (S-1). CW-1 indicated he was on the West Front Terrace
area at approximately 2:30 PM. when persons broke through the police line at the area near the
steps of the U.S. Capitol building. CW-1 further stated that S-1, with others, attempted to
physically overtake CW-1 and other members of the CDU who were attempting to stop them.
CW-] stated that S-1 grabbed him with both hands and pushed CW-1 backwards. CW-1 defended
himself and struck S-1 with his baton, who then fell face down upon a wooden platform and when
doing so, an object fell from the S-1°s waistband area of his pants. landing at the feet of CW-t.
CW-I indicated the object was clearly a firearm, that being a pistol, and CW-I picked up the
weapon to remove the threat from other persons who were still assaulting law enforcement officers.
Shortly thereafter, CW-1 inspected the firearm. located a serial number, and identified it as a
loaded Taurus revolver branded as “The Judge™ (hereinafter “Taurus Revolver”), which contained
five (05) rounds of live ammunition. The ammunition consisted of three (3) .410 gauge shotgun
shells and two (2) .45 caliber hollow point rounds. Your affiant is aware that the Taurus Revolver
is one of a few handguns that can fire both shotgun shells and regular bullets through the barrel.
When shotguns shells are fired through such a pistol, the effect is similar to the discharge of a short
barreled or sawed-off shotgun. Your affiant is also aware that hollow point rounds expand on
impact and can be more lethal than regular bullets. The fact that the weapon also contained
shotguns shells indicates an intent to be able to use the weapon against multiple targets at the same
time.

IL. CW-1 indicated that after it recovered the Taurus Revolver. 5-1 fled the area with
assistance of others in the large crowd who blocked W-I and other law enforcement officers.

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preventing the Subject person from being apprehended. CW-I then had the Taurus Revolver
processed and placed into evidence by the U.S. Capitol Police Crime Scene Unit. The Taurus
Revolver was fingerprinted and swabbed for DNA.

12. On January 11, 2021, your affiant initiated a criminal investigation and performed
an ATF-E-Trace of the Taurus Revolver’s serial number. On January 11. 202!. the serial number
of the Taurus Revolver was checked against the records of the Gun Registration Unit within the
District of Columbia, Metropolitan Police Department. This check revealed that no certificate of
firearms registration, a prerequisite for firearms possession in the District of Columbia. existed for
that firearm. A check of the National Crime Information Center (NCIC) law enforcement data
base revealed that the firearm was not reported to be stolen from any jurisdiction at that time.

13. On January 28, 2021. | was contacted by the Alcohol Tobacco & Firearms (ATF)
and was advised that that the Taurus Revolver had been reported stolen by Mark Andrew Mazza
(hereinafter MAZZA) on January 8, 2021, to the Shelbyville Police Department in the state of
Indiana. An additional search of the ATF E-Trace on that same date revealed that the firearm’s
original purchaser was listed as MAZZA, with a specific address located in Franklin, Indiana.

14. According to the Shelbyville Police Department, on or about January 8. 2021.
MAZZA called the department from phone number 317-727-7593, and claimed that his Judge
Revolver had been stolen. According to MAZZA’s statement to the Shelbyville Police
Department, MAZZA claimed to have left his Judge Revolver in his rental car when he arrived at
the Hard Rock Casino in Cincinnati, Ohio, on January 5. 2021. at approximately 10:30 am.
MAZZA stated that he then went into the casino, and when he returned to the car on January 6.
2021, at 12:00 am, the Judge Revolver was missing.

15. MAZZA further stated to the Shelbyville Police Department that he drove home
from Ohio to Shelbyville, IN, on January 6, 2021, because he did not want to report the missing
firearm to the casino police, and after arriving home, he went to bed because he was tired.
MAZZA also stated that he did not have the firearms serial number at the time but he would update
the Shelbyville Police Department once he had it. On or about January 18, 2021. MAZZA
provided the firearms serial number to the Shelbyville Police Department, and it was entered on
the same day into the NCIC database as having been reported stolen on January 6, 2021. The serial
number matched the serial number of the Taurus Revolver recovered at the U.S. Capitol on January
6, 2021.

16. Further criminal investigation confirmed MAZZA’‘s cell phone was an Apple
iPhone with cellular provider AT&T. with the same mobile phone number that MAZZA used to
report the theft of the Taurus Revolver. MAZZA‘s subscriber records further confirmed the same
address as MAZZA’s Residence. Based on driver's license information. and the most recent DMV
picture of MAZZA from 2017, MAZZA is a white male, 56 years old, with short brown hair. and
brown/white goatee. MAZZA was further identified as having a residence in Shelbyville, IN
(“MAZZA’s Residence”).

17. A photo array containing nine (9) photos, one being the above described DMV
photo of MAZZA, was presented to CW-1 on January 28, 2021 in an effort to identify S-1. Upon

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presentation of the array CW-1 was told the pictures of the individuals may appear different than
they may be in real life, and may include different facial hair or color hair. The driver's license
photograph shows MAZZA as a white male, approximately 56 years old, with a goatee.
brown/white facial hair, and was taken approximately in 2017. The image of MAZZA used in
the array is as follows:

 

CW-1! did not identify MAZZA from the nine (9) photos, but looked closely at one photo (S-2).
not MAZZA, who is a white male, approximately 37 years old, and had a full beard. red / brown
in color. S-2°s picture in the array was:

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CW-1 indicated that other person “looks very close to what I can recall,” and “| want to say this
guy because he was wearing a hat. | will stick to this guy.” CW-1 was asked if he was positive.
and he stated that he was not. CW-I further stated “It's rea! fricking hard, he had this look.”

18. In February 2021, a search warrant for the phone number that MAZZA used to call
in the stolen Taurus Revolver (which was directed to his provider AT&T) was obtained. These
results confirmed that the phone that MAZZA owned and utilized was an Apple 7 iPhone with an
International Mobile Equipment Identity (IME]) that starts with 355342088528, A review of the
cell towers used by that phone on January 6, 2021 further confirmed that MAZZA was utilizing
cell towers providing service in the area around the United States Capitol at the time of attack on
the U.S. Capitol. The records do indicate that MAZZA’s phone was present in Ohio on January
5, 2021, and other states that indicate that MAZZA traveled to Washington. D.C. on January 6.
2021, and returned back to Indiana shortly thereafter. These records confirm that MAZZA was in
Washington, D.C. on January 6, 2021, which is contrary to his statement to the Shelbyville Police
Department

19. Further online investigation led to the discovery of a Twitter account with the user
name “(@MarkNunzios64~ and the display name “Mark MAZZA” at
https://twitter.com/marknunzios64. Also discovered was a Facebook account at
https://www.facebook.com/markmazzal964. Subpoenas to Twitter and Facebook confirmed the
accounts belonged to MAZZA, as it contained the known phone number and email address for
MAZZA.

 

20. During areview of materials on the public feed of MAZZA‘s Twitter account. your
affiant observed a video that your affiant is aware was taken during the riot on January 6. 2021,
from the area of the upper west Terrace of the U.S. Capitol Building. and area restricted to
authorized persons only on January 6, 2021. The video depicted protesters entering the U.S.
Capitol Building through a broken window on the west side Terrace of the U.S. Capitol. Screen
shots of that video are as follows:
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21. A search warrant of the Twitter account further confirmed that MAZZA uploaded
the above video to his own Twitter account. The video was shared using “Twitter for iPhone~
application that | know to be used on the Apple iPhone. Cell tower records placing MAZZA‘s
phone near the U.S. Capitol on January 6, 2021, are consistent with MAZZA filming the events at
that time and location, and posting those videos to Twitter, using his Apple iPhone. Also found
on the Twitter account were a number of self-portraits. commonly known as “selfies”. that appear
to have been taken my MAZZA on January 6, 2021. One of the images ts as follows:
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22, On or about March 25, 2021, your affiant and a Supervisory Special Agent from
the U.S. Capitol Police (SSA) traveled to Shelbyville, IN, to attempt to interview MAZZA. ina
non-custodial interview, at his home. Your affiant also obtained a search warrant to obtain and
search MAZZA’s cellular phone from MAZZA and/or his residence prior to approaching MAZZA.
On March 29, 2021, your affiant and the SSA went to MAZZA‘s Residence. and as we approached
the home, we encountered MAZZA outside. As I and the SSA approached MAZZA. we identified
ourselves as United States Capitol Police investigators and MAZZA replied. “Capitol Police... |
was there... so were a million other people.” Your affiant informed MAZZA about the search
warrant for his property and asked to speak to him as the search warrant was being executed.
MAZZA agreed to do so, as long as the interview took place on the front porch of his residence.
MAZZA was not taken in custody, handcuffed, or otherwise physically restrained during the
interview.

23. MAZZA was advised during the interview that he did not have to speak with myself
or the SSA, and that the interview was completely voluntary. He was further warned not to make
any false statements or “lie”. The interview commenced at 4:28 P.M., and was audio recorded
with a handheld recorder. MAZZA was asked to describe how his firearm was stolen and he
replied “uhhh... do you want the official version?” and “I had it on me and | had stopped the crowd
ok, they were trying to get in. | don’t even know what entrance that is... you got the main
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entrance... the other side.” MAZZA further stated “that’s where we all went... we were all there
up on top everywhere.” MAZZA was asked to clarify what he meant by “where” and replied the
Capitol.”

24, During the interview MAZZA indicated he participated in the “Stop the Steal™
Rally, and he went on to describe that when he got to the U.S. Capitol buiiding, that there was a
window broken out on the side of the entrance, a line of people trying to force their way in the
entrance, and other people trying to break another window. MAZZA stated “we kept trying to pull
them back down... we didn’t want any of that.”

25. MAZZA further stated that he got to the “hallway”. which was where everyone was
getting pepper sprayed. MAZZA stated “I go in the hallway because this is bullshit. what are we
trying to do?” and “me and my buddy said what are they doing here... we knew it was Antifa
because we are law abiding citizens, we don't do that... we don’t loot.” MAZZA went on to state
that he “got up there”, that there were two (2) glass doors open and eight (8) cops with protestors.
MAZZA claimed to have stopped both sides and announced to the crowd, “what the hell are we
doing? You’re not gonna let us in and they said no.” and “And you guys... what do you want?
We’re not gonna hurt anybody, were not here for that.” MAZZA then claimed that he “had this
door in my hand, I looked at the cop, I was getting ready to shut the door because there was another
guy holding this one with hts foot.” MAZZA stated that he looked up and saw a cop who raised
his bear spay prompting MAZZA to say “I’m out!” MAZZA claimed to jump behind the door as
everyone else got sprayed. MAZZA stated that he was “caught... smashed into the door. ]°m
assuming it was a shoulder holster... the snap... felt it come undone and I couldn’t get me hands
down.” And “By the time I was forced out of the tunnel, it was gone.” MAZZA asked “what am
I gonna do? I couldn’t get back in there... the police had pushed their way out, and I thought well
then they just picked it up.” MAZZA added “I was hoping... someone saw it and said we gotta get
that now.” MAZZA was asked what type of firearm he brought and he replied “Taurus Judge. it
was a cammo with 45 long and 410 slugs.”

26. MAZZA stated that he reported the gun stolen because in case something happened
and if Antifa found it, someone might get killed and my name is all over it. MAZZA further stated
“I did falsify a report” and “It’s missing, not stolen.” MAZZA was asked “When you were at
D.C., did you at any time assault any police officers?” MAZZA replied “No.” and “In fact... |
helped two of them.” MAZZA described helping a white officer with a beard and a black officer.
both who had been drug out, being passed along. MAZZA claimed to have grabbed both of them
and assisted in getting them out of there. MAZZA was asked again, after being warned of multiple
cameras, “Did you at any point grab, push, shove, pull down a police officer?” MAZZA replied
that he grabbed three people, two cops, to get them out of there. MAZZA stated “No. | did not
injure anyone... didn’t swing, didn’t do nothing. I can barely make a fist because of my arthritis.”
And “I never injured any police officer or anyone... period.” MAZZA was asked if had looked
up the firearms laws prior to traveling to D.C. and he replied “No.”

27. MAZZA was asked “Is there anything you told us that you want to change or add
to?” MAZZA replied “It was cold as hell that day, that whole three days... never did get to talk
to Nancy... | thought Nan and I would hit it off.” And “I was glad | didn’t because you'd be here

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for another reason and I told my kids that if they show up, I’m surrendering. nope they can have
me, because | may go down as a hero.” MAZZA then added “Im nonviolent. I'm a patriot and it
pisses me off to see where we're at.” MAZZA further stated that. “If you do have to come back
and take me, put me ina fed... | just want three squares and a nice clean room. someone takes care
of my health care and I’m good.”

28. A review of available video footage. from law enforcement and social media, was
conducted to identify MAZZA and verify his claims. Your affiant has reviewed the video and
identified MAZZA in U.S. Capitol Police security camera moving through the crowd and entering
the tunnel to the Lower West Terrace doors at approximately 3:08:29 p.m. During his initial
appearance in the video, MAZZA is wearing a brown jacket, a blue and red “Trump” hat. and
white and dark colored scarf over his face. This clothing in the video further matches the selfie
photograph of MAZZA from January 6, 2021. found on his social media account, As MAZZA
moves through the tunnel area, his scarf drops, and hts face is visible at numerous parts of the
video. | am able to identify MAZZA based upon my own personal familiarity with MAZZA. SSA
further reviewed the video and identified MAZZA based on his familiarity with MAZZA. The
area covered by the video footage is also consistent with the area that MAZZA stated he went to
during the attack on the U.S. Capitol Riot.

29. The video footage from the Lower West Terrace Doors shows that numerous
persons were assaulting officers at the front of the tunnel space. when MAZZA appears into the
tunnel behind them. Images from the video footage include the following (with red circle added
to show MAZZA’s location):

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\Wednesday, January 96, 20271 3 U8 32 PM

 

MAZZA is then observed assisting the group of protesters by pushing with others from behind.
the group as a whole, towards D.C. Metropolitan Police Department Officers (“MPD Officers)
who were assisting the U.S. Capitol Police and defending the Lower West Terrance door
entrance to the U.S. Capitol. The MPD Officers were wearing helmets. body armor. and
distinctive police attire emblazoned with the words police and “Metropolitan Police
Department.” At least 15 MPD Officers were assisting in blocking the attack inside the tunnel at
the time of MAZZA’s presence inside the tunnel area, and include: Sergeant W.B.. Officer M.F..
Officer N.M., Officer H.F., Officer J.P.. Officer D.H.. and Officer B.M.

Images of MAZZA assisting the pushing against officers is in the following images:
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31. The Lower West Terrace security footage shows that MAZZA continued to the
front of the tunnel area with a baton in his hand. where he was physically present as he. and

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others. assaulted the MPD Officers who were defending the front of the tunnel. A review of
Body Worn camera (BWC) footage from multiple MPD Officers who were defending the inside
of the Lower West Terrace doors at approximately 3:13:30 p.m. shows MAZZA behind one of
the glass doors. MAZZA can be seen holding the glass doors open for other protesters with his
right hand while clenching a black baton in his hand. As he held open the glass door. other
rioters assaulted the MPD Officers who were defending the tunnel entrance and resisting the
protestors. In one video from and in the MPD BWC. MAZZA is seen at this same moment while
he is holding the glass door open as rioters used shields, flag poles. and batons as weapons to
strike at and force their way through the MPD officers. Images from one of the public videos
include:

 

MAZZA’s hand is shown below holding open the door as other rioters pushed forward to assault
multiple MPD Officers:
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32. Additional BWC footage from another DC metropolitan Police Officer revealed
MAZZA actively swinging the baton at police officers @ approximately 3:15:45 p.m.
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33. At approximately 3:13:58 p.m.. MAZZA is also observed and recorded on multiple
videos as yelling at the officers, “This is our fucking house! We own this house! We want our
house!” Images from one of the videos is as follows:
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34. Shortly thereafter, MAZZA is seen moving from the front of the tunnel, where he
had committed and witnessed violence against the MPD Officers. to the back of the tunnel area.
There MAZZA showed other rioters his baton and pulled other rioters into the tunnel area to
attack and push against the MPD Officers at the front of the tunnel. as many of the rioters yelled
“heave-ho!” These “heave-ho” efforts - by which multiple rioters collectively used thetr body

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mass for greater force in pushing back officers by gaining momentum through leaning back and
then pushing forward while chanting “heave-ho”™ to coordinate their efforts - resulted in
significant physical force and pressure being placed upon the MPD Officers at the front of the
tunne!. While engaged in the “heave-ho”™ efforts, MAZZA was armed with the baton. An image
from the video that shows MAZZA displaying the expandable baton for other rioters is below.

 

Images showing MAZZA pulling people into the tunnel area to assist it in the assault on MPD
Officers shortly thereafter include the following:
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Images of the video showing MAZZA pushing with the group yelling “heave-ho” while armed
with a baton include the following:

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35. Other images from the video showing MAZZA inside the tunnel area without a
covering over his face include the following:
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36. Several minutes after enduring multiple “heave-ho” pushes from the rioters MPD
Officers moved forward to push the attackers from inside the tunnel area. As they did so. MPD
Officers M.F. and M.M. were dragged into the crowd, assaulted and beaten. Some rioters
eventually helped Officer M.F. back to the line of police officers, and Officer M.M. to escape from
the specific area. Video footage from the area indicates that MAZZA had his baton extended in
his hand and was near Officers M.F. and M.M. as they were being pulled into the crowd. The
video footage reviewed does not show that MAZZA assaulted either officer with the baton but
suggests he may have attempted to thwart other rioters from attacking the officers.

Review of Criminal Conduct

 

37. Based on the aforementioned information. your affiant can conclude the foltowing:
a. MAZZA has admitted that he brought the loaded Taurus Revolver across state

lines to “Stop the Steal Rally" in the District of Columbia. and then onto
restricted U.S. Capitol grounds in the District of Columbia on January 6. 2021.

Even afier he admitted possessing the firearm at the U.S. Capitol to your affiant.

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he lied about where he lost the firearm. Contrary to MA7ZA’s statement that
he fost the firearm from his holster in the tunnel area shortly after 3:00 PM on
January 6, 2021, the Taurus Revolves was recovered by C W-1. around 2:30 PM
on the West Front Terrace of the U.S. Capitol. after being assaulted by S-1. Your
affiant is continuing to investigate the possibility that S-1 and MAZZA are one
and the same. As noted above, the Taurus Revolver was not registered in the
District of Columbia, and he did not have authority to carry it in the District of
Columbia, or bring it onto the U.S. Capitol grounds.

b. MAZZA assaulted multiple MPD Officers who were assisting the U.S. Capitol
Police to defend the U.S. Capitol while inside the tunnel. MAZZA did so first
as a principal, while armed with a baton, by assaulting MPD Officers: striking
at MPD Officers with the baton: pushing against MPD Officers with other
confederates, and resisting. impeding and otherwise opposing MPD Officers
inside the tunnel area. Further, MAZZA willfully aided and abetted others
attackers, many of whom were armed with weapons. who assaulted. opposed.
and resisted those same MPD Officers by: 1) holding open the door to the U.S.
Capitol while other attackers physically hit. assaulted, threatened, pushed. and
struck those MPD Officers; 2) recruiting and pulling other rioters into the tunnel
area to assist in the assault on the MPD Officers: and 3) by engaging in the
“heave-ho™ efforts with other rioters. which resulted in further assault of the
MPD Officers.

c. MAZZA lied to Shelbyville law enforcement authorities. and the United States
Bureau of Alcohol, Tobacco and Firearms (“ATF”) on or about January 8. 2021
and January 15, 2021, by filing a false stolen firearm reports that claimed the
firearm was stolen from his car in the state of Ohio. and which did not mention
the attack at the U.S. Capitol. Your affiant believes that based on MAZZA'‘s
false statements occurred after the law enforcement investigation into the assault
on the U.S. Capitol had been widely broadcast and law enforcement had
indicated publicly it was looking to arrest perpetrators involved in the assault on
the U.S. Capitol. MAZZA‘s Google account records include his YouTube
viewing history, and show that on or about January 8. 2021. MAZZA‘s account
searched “trump protest” and he viewed numerous news reports and videos
about attacks on law enforcement officers during the assault on the U.S. Capitol.
MAZZA‘s conduct also indicates he lied the U.S. Capitol Police in March 2021
about how and where he lost the Taurus Revolver at the U.S. Capitol. and also
about his activities during that day, including when he denied assaulting any law
enforcement officers. Your affiant is aware that MAZZA made these statements
even after being advised about the instant case against him (and that a search
warrant based on probable cause had been issued to search his devices). These
statements are further evidence of MAZZA‘s intent to obstruct the grand jury
investigation, and were part of a pattern of conduct committed in an effort to
thwart law enforcement and corruptly obstruct the pending grand jury
investigation.

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38.

Conclusion

Based on the foregoing, your affiant submits that there is probable cause to

believe the following:

a.

MAZZA violated 18 U.S.C. $1512(c)(2). which makes it a crime to corruptly
obstruct any official proceeding. in two ways. First. MAZZA corruptly
obstructed a Congressional proceeding. that being the certification of the vote
count of the Electoral College of the 2020 Presidential Election on January 6.
2021. Second, MAZZA corruptly obstructed the grand jury investigation into the
attack on the U.S. Capitel between on or about January 8, 2021 and March 25.
2021, knowing that grand jury investigation had been. or was about to be initiated.
by providing false information to state. local. and federal law enforcement
investigators in an effort to thwart the grand jury's investigation into his own
criminal conduct on January 6, 2021 An official proceeding includes a Federal
grand jury and a proceeding before Congress. and need not be pending or about to
be instituted at the time of the offense.

MAZZA violated 18 U.S.C. § 1752(a)(1). (2) and (4). which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; (2} knowingly. and with intent to impede or disrupt the orderly
conduct of Government business or official functions. engage in disorderly or
disruptive conduct in, or within such proximity to. any restricted building or
grounds when, or so that, such conduct. in fact. impedes or disrupts the orderly
conduct of Government business or official finctions: and (4) knowingly engage
in any act of physical violence against any person or property in any restricted
building or grounds; or attempts or conspires to do so. There is also probable
cause that MAZZA violated 18 U.S.C. §1752(b)(1){A). which calls for additional
punishment if the person committed the above offenses while carrying a deadly or
dangerous weapon. For purposes of Section 1752 of Title 18. a “restricted
building” includes a posted, cordoned off. or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret
Service. including the Vice President. is or will be temporarily visiting: or any
building or grounds so restricted in conjunction with an event designated as a
special event of national significance. For purposes of Section 1752 of Title 18. a
“restricted building™ includes a posted, cordoned off, or otherwise restricted area
of a building or grounds where the President or other person protected by the
Secret Service, including the Vice President, is or will be temporarily visiting: or
any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

MAZZA violated 40 U.S.C. § 5104(e)(1)(A)(i). (2)(D) and (F), which makes it a
crime for an individual or group of individuals to willfully and knowingly:
(1)(A)(i) carry on or have readily accessible to any individual on the Grounds or
in any Capitol Buildings, a firearm; (2)(D) utter loud, threatening. or abusive
language, or engage in disorderly or disruptive conduct. at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt. or
disturb the orderly conduct of a session of Congress or either House of Congress.

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or the orderly conduct in that building of a hearing before. or any deliberations of.
a committee of Congress or either House of Congress: and (2)(F) engage in an act
of physical violence in the Grounds or any of the Capitol Buildings.

d. MAZZA violated 18 U.S.C. § 231(a)(3). which makes it unlawful to commit or
attempt to commit any act to obstruct. impede. or interfere with any fireman or
law enforcement officer lawfully engaged in the lawful performance of his
official duties incident to and during the commission of a civil disorder which in
any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of
Title 18, a federally protected function means any function. operation. or action
carried out, under the taws of the United States. by any department. agency. or
instrumentality of the United States or by an officer or emptoyee thereof. This
includes the Joint Session of Congress where the Senate and House count
Electoral College votes.

e. MAZZA violated 18 U.S.C. § 11 1(a)(1) and (b). which makes it a crime for anyone
to forcibly assault, resist. oppose. impede. intimidate. or interfere with a person
designated in 18 U.S.C. § L114. which includes certain federal officers or
employees or those assisting them. where such acts involve physical contact with
the victim of that assault, while the officer or employee is engaged in or on account
of the performance of official duties, while using a deadly or dangerous weapon.

f. MAZZA violated 22 D.C. Code §4504, and 7 D.C. Code §§ 2502.01. and 2506.01.
which make it a crime for anyone to possess a pistol. firearm. or ammunition
outside their home or place of business, in the District of Columbia. without a
license and registration issued by the District of Columbia.

Respectfully submitted.

Ll KP

Richard Larity L
Special Agent
U.S. Capitol Police Department

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of November, 2021.

Zia M. Faruqui

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ZIA FARUQUI
UNITED STATES MAGISTRATE JUDGE

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